Case 1:23-cr-00061-MN        Document 274-2          Filed 12/02/24      Page 1 of 1 PageID #: 5229




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 UNITED STATES OF AMERICA                        )
                                                 )
        v.                                       )       Criminal Action No. 1:23-cr-61-MN
                                                 )
 ROBERT HUNTER BIDEN,                            )
                                                 )
                               Defendant.        )
                                     [PROPOSED] ORDER
             AND NOW, this _________ day of __________________, 2024, upon consideration

 of the Defendant’s motion to dismiss the indictment, titled “Mr. Biden’s Notice of Pardon,” (D.I.

 272), and the Government’s Opposition thereto, it is HEREBY ORDERED that the motion to

 dismiss the indictment is DENIED for the reasons set forth in the Government’s Opposition.



                                                __________________________________________
                                                The Honorable Maryellen Noreika
                                                United States District Judge
